4:06-cr-03040-WKU-DLP             Doc # 121   Filed: 06/22/07     Page 1 of 1 - Page ID # 537




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )                    4:06CR3040
                                               )
              v.                               )
                                               )
NOE GUSTAVO CHAVEZ LOYA,                       )      ORDER CONTINUING SENTENCING
                                               )               HEARING
                     Defendant.                )
                                               )


        IT IS ORDERED that the sentencing hearing for Noe Gustavo Chavez Loya is continued
until further order of the court.

       Dated June 22, 2007.

                                      BY THE COURT

                                      s/ Warren K. Urbom
                                      United States Senior District Judge
